         Case 3:17-cv-00364-JBA Document 54 Filed 05/01/18 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

JOHN DOE,                                        )      Civil Action
                                                 )      No. 3:17-cv-00364-JBA
                     Plaintiff,                  )
                                                 )
v.                                               )
                                                 )
QUINNIPIAC UNIVERSITY, TERRI                     )
JOHNSON, SEANN KALAGHER,                         )
AND VINCENT CONTRUCCI                            )
                                                 )
                     Defendants.                 )      May 1, 2017


                   PLAINTIFF’S MOTION FOR LEAVE TO AMEND

       Plaintiff John Doe respectfully moves for leave to file his Second Amended

Complaint under Fed. R. Civ. P. 15(a) and District of Connecticut Local Rules 7(a) and

(f). In accordance with Local Rule 7(f), redlined and clean versions of the proposed

Second Amended Complaint are attached hereto as Exhibits A and B, respectively.

       As supported in Plaintiff’s accompanying Memorandum of Law filed with this

motion, Plaintiff seeks leave to add certain factual allegations related to Defendant

Quinnipiac University’s (“QU”) disability policies that address QU’s obligations under the

Americans with Disabilities Act (“ADA”) and Section 504 of the Rehabilitation Act of

1973 (“Section 504”), which QU has promulgated in its Student Handbook and other

relevant documents. See Ex. A, ¶¶ 15, 19, 199, 202, 204, 206. Defendants have

expressed no objection to these amendments.

       Plaintiff also proposes to add two new counts, Count Eleven (negligence) and

Count Twelve (reckless and wanton misconduct). See Ex. A, ¶¶ 237-257. Counsel to

both parties met and conferred on April 18, 2018, and Defendants objected to these



                                            1
         Case 3:17-cv-00364-JBA Document 54 Filed 05/01/18 Page 2 of 3



amendments on the ground of prejudice due to delay. Defendants’ counsel did not

raise objections based on bad faith or futility.

       Prior to filing this motion, and in compliance with District of Connecticut Local

Rule 7(f), Plaintiff, through counsel, inquired of all non-moving parties and there is a

partial objection to the motion.

       WHEREFORE, Plaintiff moves this Court to grant leave to amend and permit

Plaintiff to file the Second Amended Complaint.



                                                   PLAINTIFF
                                                   JOHN DOE

                                                   By: /s/ Felice M. Duffy
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                                                   His Attorneys




                                              2
         Case 3:17-cv-00364-JBA Document 54 Filed 05/01/18 Page 3 of 3



                                      CERTIFICATION

         I hereby certify that on May 1, 2018, a copy of the foregoing Motion for Leave to
Amend and all supporting papers was filed electronically and served by mail on anyone
unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties
by operation of the Court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the Court’s CM/ECF System.


                                                   By:    /s/ Felice M. Duffy
                                                          Felice M. Duffy




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